Case 2:21-cv-20706-MEF-ESK Document 6-4 Filed 06/16/22 Page 1 of 2 PagelD: 69

AFFIDAVIT OF SERVICE

- State of NJ County of -0- U.S. District Court, District Of Nj Court

Case Number: CV-20706/21

Plaintiff:
JOHN DOE

VS.

Defendant:
BAILE SEBROW 1

For:

70610

DANIEL SZALKIEWIEZ & ASSOCIATES
325 WEST 38TH STREET, STE. 810
NEW YORK, NY 10018

Received by ELITE LEGAL SERVICES OF NY INC. to be served on BAILE SEBROW, 12 BEECHWOOD DRIVE, LAWRENCE, NY
11558,

1, JOSEPH DEROSA, being duly sworn, depose and’ say that on the 27th day of April, 2022 at 7:12 pm, i:

AFFIXED a true copy of the SUMMONS & COMPLAINT AND DEMAND FOR JURY DUTY IN A CIVIL ACTION to the door at the
address of: 12 BEECHWOOD DRIVE, LAWRENCE, NY 11559, the same being the defendant/respondent's place of Abode within the
State of New York. Deponent completed service by mailing a true copy of the SUMMONS & COMPLAINT AND DEMAND FOR JURY
DUTY INA CIVIL ACTION in a postpaid envelope to the address of: 12 BEECHWOOD DRIVE, LAWRENCE, NY 11559 bearing the
words “Personal & Confidential” by First Class Mail on 5/2/2022 and placed in an official depository of the U.3.P.S. in the State of New

York. |
|

Additional Information pertaining to this Service:
3/18/2022 7:17 pm Attempted service at 12 BEECHWOOD DRIVE, LAWRENCE, NY 11559, NO ANSWER. |
3/16/2022 7122 am Attempted service at 12 BEECHWOOD DRIVE, LAWRENCE, NY 11559, NO ANSWER.

*

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good standing, in the fw
judicial circuit in which the process was served. ,

Subscribed and Sworn to before me on the 2nd day of

May /4022 by the affiant who is personally known to me. —-1OSEEHDEROSA
52

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ELITE LEGAL SERVICES OF|NY INC.
1603 FRANCIS LEWIS BLVD:
CORISSA MARTINEZ WHITESTONE, N¥ 11357
COMMISIONER OF DEEDS 18) 831-9060
CITY OF NEW YORK- No. 3-7441 (m8)
CERTIFICATE FILED IN BRONX COUNTY Our Job Serial Number: ELT-2022000690

COMMISSION EXPIRES AUGUST 14, 2022

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7 ELITE LEGAL SERVICES OF NY INC.
Priority: STANDARD Field igi #20 22000690

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Court Date: Filed: 12/28/2021

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SERVE:
Home: BAILE SEBROW, 12 BEECHWOOD DRIVE, LAWRENCE, NY 11559

SPECIAL INSTRUCTIONS:
Attempts Server: JOSEPH DEROSA

Sil C W5% fur Comments
2.

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| Married?
fic S¢4ee~ Military? Miles
As: Hours
Address: : Additional afer: 123
Comments: . Courier_|_.
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Age Sex M F Race Height: Weight ‘Hair. Glasses Y N
Case Number: CV-20706/21 -0- U.S. District: Court, District Of Nj
Plaintiff Defendant
JOHN DOE BAILE SEBROW

Type of Writ: SUMMONS & COMPLAINT AND DEMAND FOR JURY DUTY IN A CIVIL ACTION

Client: 70610

Firm: DANIEL SZALKIEWIEZ & ASSOCIATES
Phone: (212) 706-1007 Fax: (914) 500-2315
Client Reference Number:

|
'

| acknowledge receipt of the documents listed above and confirm that
' the within-named party is / is not in active military sefvice. (To change,
go to Setup>Misc Text>FS Acknowledgement.)

Signature of Recipient

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